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 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

BRYAN LEVY, et ux.,                               *

                     Plaintiffs,                  *

      v.                                          *    Case No.: ____________________

BOARD OF EDUCATION OF ANNE                        *
ARUNDEL COUNTY, et al.,                                State Court Case No. C-02-CV-21-
                                                       000119

                     Defendants.                  *

                              *     *      *      *      *      *      *

                                        NOTICE OF REMOVAL


        The Defendants, Board of Education of Anne Arundel County and Natalie Marston in her

official and individual capacity, by and through undersigned counsel, and pursuant to 28 U.S.C.

§§ 1441-1447, as amended, hereby gives notice of his removal of the above-referenced case and

further states:

           1.      This action was commenced in the Circuit Court for Anne Arundel County,

Maryland, on January 25, 2021 through the filing of the Complaint in case number C-02-CV-21-

000119. The Complaint was served upon both Defendants.

        2.         On July 6, 2021 the Plaintiffs filed an Amended Complaint in the Circuit Court

for Anne Arundel County, Maryland adding for the first time new claims against the defendants,

including but not limited to claims for constitutional violations pursuant to 42 U.S.C. § 1983,

Title II of the Americans with Disabilities Act, and § 504 of the Rehabilitation Act of 1973.

        3. On July 15, 2021, undersigned counsel reviewed the official court file (electronically)

in this case, entitled Bryan Levy, et al. v. Board of Education, et al.., Case Number C-02-CV-21-

000119, in the Circuit Court for Anne Arundel County, Maryland. Further, undersigned counsel

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hereby certifies, pursuant to the provisions of Local Rule 103.5 (a), that all process, pleadings,

papers and orders on file in the Circuit Court, or served upon any Defendant, are attached hereto

and filed herewith as Exhibits 1 through 38.

          3.    The Circuit Court file and attached papers reveal that there are a total of two

Defendants, Board of Education for Anne Arundel County and Natalie Marston. All Defendants

join in this Notice of Removal and consent to removal pursuant to 28 U.S.C. § 1446 (b) at this

time.

          4.    The grounds for removal are that the United States District Court has original

jurisdiction over the claims set forth in Count VI, Count VII, Count VIII, Count IX, Count X,

which allege violations of certain federal rights under the Fourteenth Amendments of the United

States Constitution, the Americans with Disabilities Act, and the Rehabilitation Act of 1973, and

that the United States District Court has supplemental jurisdiction over all related state law

claims.

          WHEREFORE, the Defendants, Board of Education of Anne Arundel County and

Natalie Marston, give notice:

          a. That the above-captioned case has been removed from the Circuit Court for Anne

Arundel County, Maryland, to the United States District Court for the District of Maryland; and

          b. That the Circuit Court for Anne Arundel County, Maryland shall proceed no further in

the case unless and until the case is remanded.




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                                             Respectfully submitted,

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                                             County Attorney


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                                             Attorney for Defendants


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 15th day of July, 2021, a copy of the foregoing

Notice of Removal was sent via Maryland Electronic Courts case management system (MDEC)

and United States Postal Service, postage prepaid to:

Clerk of the Circuit Court
Circuit Court for Anne Arundel County
8 Church Circle
Annapolis, Maryland, 21401

Timothy P. Maloney, Esq.
Matthew M. Bryant, Esq.
Alyse L. Prawde, Esq.
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